                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00283-CV


                                Armando Carlos Duran
                                         v.
                                   Rebecca Garcia


                                 On appeal from the
                 County Court at Law No. 2 of Hidalgo County, Texas
                          Trial Cause No. CL-15-2442-B


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed.        The Court orders the appeal

DISMISSED FOR WANT OF PROSECUTION in accordance with its opinion. Costs of

the appeal are adjudged against appellant.

      We further order this decision certified below for observance.

September 2, 2016.
